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Todd M. Friedman (216752)

 

 

 
 

Darin Shaw (251037) n o
Law Offices of Todd M. Friedman, P.C. < om 3S
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Beverly Hills, (CA 90211 pes
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O «= Cs UNITED STATES DISTRICT COURT
~ 3 ~Yior THE CENTRAL DISTRICT OF cALTIORNA 7 VA p
1 NY me
MARK ALVAREZ, ih D CVo ned 0 A ¢ .
)
Plaintiff, ) COMPLAINT FOR VIOLATION
) OF FEDERAL FAIR DEBT
VS. ) COLLECTION PRACTICES ACT,
) ROSENTHAL FAIR DEBT
ACCOUNT MANAGEMENT ) COLLECTION PRACTICES ACT,
SERVICES, ) AND INVASION OF PRIVACY
)
Defendant. | )
)

 

I. INTRODUCTION

1. This is an action for damages brought by an individual consumer for
Defendant’s violations of the Fair Debt Collection Practices Act, 15 U.S.C.
§1692, et seq. (hereinafter “FDCPA”), and the Rosenthal Fair Debt Collection
Practices Act, Cal Civ Code §1788, et seq. (hereinafter “RFDCPA”), both of
which prohibit debt collectors from engaging in abusive, deceptive, and unfair

practices. Ancillary to the claims above, Plaintiff further alleges claims for

Complaint - 1

 

 

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invasion of privacy arising from intrusion upon seclusion and public disclosure of
private facts.
Il. JURISDICTION
2. Jurisdiction of this Court arises under 15 U.S.C. §1692k(d).
Il. PARTIES

3. Plaintiff, Mark Alvarez (‘Plaintiff’), is a natural person residing in
San Bernardino County in the state of California, and is a “consumer” as defined
by the FDCPA, 15 U.S.C. §1692a(3) and is a “debtor” as defined by Cal Civ
Code §1788.2(h).

4. At all relevant times herein, Account Management Services
(“Defendant”) was a company engaged, by use of the mails and telephone, in the
business of collecting a debt from Plaintiff which qualifies as a “debt,” as defined
by 15 U.S.C. §1692a(5), and a “consumer debt,” as defined by Cal Civ Code
§1788.2(f). Defendant regularly attempts to collect debts alleged to be due
another, and therefore is a “debt collector” as defined by the FDCPA, 15 U.S.C.
§1692a(6), and RFDCPA, Cal Civ Code §1788.2(c).

IV. FACTUAL ALLEGATIONS

5. At various and multiple times prior to the filing of the instant

complaint, including within the one year preceding the filing of this complaint,

Defendant contacted Plaintiff in an attempt to collect an alleged outstanding debt.

Complaint - 2

 

 

 
 

 

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6. On or about July, 2010, Monica Patton, an employee of Defendant,
called Plaintiff's employer and asked to verify Plaintiff's employment. Upon
verification, she hung up.

7. On or about July, 2010, Plaintiff received a call from Monica Patton,
an employee of Defendant. During that call, Monica told Plaintiff that she had
verified his employment, so Defendant knows Plaintiff has money coming in to
pay his bills.

8. Monica Patton, an employee of Defendant, left a voicemail for
Plaintiff wherein she states she had just called Plaintiffs employer to verify
employment and that Plaintiff's employer had given her Plaintiff’s cell phone
number, which she “already had.” Monica stated that it “kinda changes
everything this new information.” Monica further stated that she wouldn’t hold
on to Plaintiffs file much longer and that it would probably leave her desk
tomorrow.

9. Olga, an employee of Defendant, left a voicemail for Plaintiff
wherein she did not identify who her employer was or the reason for her call.
Olga merely states she “needs” Plaintiff to return her call today.

10. Plaintiff received an email from Olga Gomez, an employee of
Defendant, wherein she requests he contact her office today. The email contains

no further information.

Complaint - 3

 
 

 

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Defendant’s conduct violated the FDCPA and the RFDCPA in

multiple ways, including but not limited to:

a) In connection with an attempt to collect an alleged debt
from Plaintiff, contacting a third party for purposes
other than obtaining location information, including, but
not limited to, calling Plaintiff's employer to allegedly
verify Plaintiff's employment and obtaining his cell
phone number, which Defendant already had (§1692b &
§1692c(b));

b) In connection with an attempt to collect an alleged debt
from Plaintiff, providing the identity of Defendant to a
third party without such information being expressly
requested, including, but not limited to, calling
Plaintiffs employer to allegedly verify Plaintiff's
employment and obtaining his cell phone number,
which Defendant already had (§1692b(1) & §1692c(b));

c) Disclosing to a third party the existence of the debt
allegedly owed by Plaintiff, including, but not limited
to, calling Plaintiff's employer to allegedly verify his
employment (§1692b(2) & §1692c(b));

d) Communicating with a single third party more than
once in connection with an attempt to collect an alleged
debt from Plaintiff ($1692b() & §1692c(b));

e) Repeatedly contacting Plaintiff at his/her place of
employment after being informed that such calls are
inconvenient to Plaintiff and violate the policy of
Plaintiff's employer (§ 1692c(a)(1)(3));

f) Using false, deceptive, or misleading representations or
means in connection with collection of a debt
($1692e));

g) Falsely representing the character, amount, or legal
status of Plaintiff's debt (§1692e(2)(A));

h) Failing to notify Plaintiff during the _ initial
communication with Plaintiff that the communication
was an attempt to collect a debt and any information
obtained would be used for that purpose (§ 1692e(11));
and

Complaint - 4

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i) Failing to notify Plaintiff during each collection contact
that the communication was from a debt collector
(§1692e(11)).

12. Defendant’s aforementioned violations of the FDCPA and RFDCPA
also constitute an intentional intrusion into Plaintiff's private places and into
private matters of Plaintiff's life, conducted in a manner highly offensive to a
reasonable person. Plaintiff had a subjective expectation of privacy that was
objectively reasonable under the circumstances.

13. Defendant’s aforementioned disclosure of facts regarding Plaintiff's
debt to third parties constitutes a public disclosure of a private fact not of
legitimate public concern. Defendant’s disclosures were highly offensive to a
reasonable person.

14. As a result of the above violations of the FDCPA, RFDCPA and
invasion of privacy, Plaintiff suffered and continues to suffer injury to Plaintiff's
feelings, personal humiliation, embarrassment, mental anguish and emotional
distress, and Defendant is liable to Plaintiff for Plaintiff's actual damages,
statutory damages, and costs and attorney’s fees.

COUNT I: VIOLATION OF FAIR DEBT
COLLECTION PRACTICES ACT

15. Plaintiff reincorporates by reference all of the preceding paragraphs.

Complaint - 5

 
 

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PRAYER FOR RELIEF
WHEREFORE, Plaintiff respectfully prays that judgment be entered
against the Defendant for the following:
A. Declaratory judgment that Defendant’s conduct

violated the FDCPA;

B. Actual damages;

C Statutory damages;

D. — Costs and reasonable attorney’s fees; and,
E

For such other and further relief as may be just and proper.

COUNT II: VIOLATION OF ROSENTHAL
FAIR DEBT COLLECTION PRACTICES ACT

16. Plaintiff reincorporates by reference all of the preceding paragraphs.
17. To the extent that Defendant’s actions, counted above, violated the
RFDCPA, those actions were done knowingly and willfully
PRAYER FOR RELIEF
WHEREFORE, Plaintiff respectfully prays that judgment be entered
against the Defendant for the following:

A. — Declaratory judgment that Defendant’s conduct
violated the RFDCPA;

B. Actual damages;

C Statutory damages for willful and negligent violations;
D. Costs and reasonable attorney’s fees,
E

For such other and further relief as may be just and proper.

Complaint - 6

 

 

 
 

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COUNT Ill: COMMON LAW INVASION OF PRIVACY BY INTRUSION
AND INVASION OF PRIVACY BY PUBLICATION OF PRIVATE FACTS
18. Plaintiff reincorporates by reference all of the preceding paragraphs.
PRAYER FOR RELIEF
WHEREFORE, Plaintiff respectfully prays that judgment be entered
against the Defendant for the following:

A. Actual damages
B. Punitive Damages; and,

C. For such other and further relief as may be just and proper.

PLAINTIFF HEREBY REQUESTS A TRIAL BY JURY

we

By:

 

Todd M. Friedman (216752)

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369 S. Doheny Dr. #415

Beverly Hills, CA 90211

Phone: 877 206-4741

Fax: 866 633-0228
tfriedman@attorneysforconsumers.com
Attorney for Plaintiff

Complaint - 7

 

 
 

Case 5:10-cv-01477-VAP-DTB Document 1 , Filed 09/28/10 Page 8of11 Page ID#:8

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Phone: 877-206-4741 .
Fax: 866-633-0228 | ,

UNITED STATES DISTRICT COURT - Wot
CENTRAL DISTRICT OF CALIFORNIA

ACCOUNT MANAGEMENT SERVICES, CASE NUMBER V/ A p

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MARK ALVAREZ,
SUMMONS

 

 

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ANT(S); ACCOUNT MANAGEMENT SERVICES

  

TO: pereNp

 

A lawsuit has been filed against you.

Within__21 __ days after service of this summons on you (not counting the day you received it), you
must serve on the plaintiff an answer to the attached © complaint O amended complaint
O counterclaim CO cross-claim or a motion under Rule 12 of the Federal Rules of Civil Procedure. The answer

or motion must be served on the plaintiff's attorney, Todd M. Friedman 4 , whose address is
Law Offices of Todd M. Friedman, 369 S. Doheny Dr., #415, Beverly Hills, CA 98 TR . If you fail to do so,

judgment by default will be entered against you for the relief demanded in arg r | lift. You also must file
your answer or motion with the court. Re

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<s « District Court
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PRA MOA REE AY
By: ARGO Mono

Dated:
Deputy’Clerk

 

   
  

[Use 60 days if the defendant is the United States or a United States agency, or is an officer or employee of the United States. Allowed
60 days by Rule 12(a)(3)]. ,

 

CV-01A (12/07) SUMMONS
 

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Case 5:10-cv-01477-VAP-DTB Document1 Filed 09/28/10 Page9of11 Page ID#9

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY

This case has been assigned to District Judge Virginia A. Phillips and the assigned
discovery Magistrate Judge is David T. Bristow.

The case number on all documents filed with the Court should read as follows:

EDCV10- 1477 VAP (DTBx)

Pursuant to General Order 05-07 of the United States District Court for the Central
District of California, the Magistrate Judge has been designated to hear discovery related
motions.

All discovery related motions should be noticed on the calendar of the Magistrate Judge

NOTICE TO COUNSEL

A copy of this notice must be served with the summons and complaint on all defendants (if a removal action is
filed, a copy of this notice must be served on all plaintiffs).

Subsequent documents must be filed at the following location:

Western Division [_] Southern Division [X] Eastern Division
312 N. Spring St., Rm. G-8 411 West Fourth St., Rm. 1-053 3470 Twelfth St., Rm. 134
Los Angeles, CA 90012 Santa Ana, CA 92701-4516 Riverside, CA 92501

Failure to file at the proper location will result in your documents being returned to you.

 

CV-18 (03/06) NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY
 

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Case 5:10-cv-01477-VAP-DTB ‘Document 1 Ade 10 6f11 Page ID #:10
UNITED STATES DISTRICT COURT, @ENTRAL DISTRICT OF CALIFORNIA
CIVIL COVER SHEET
I (a) PLAINTIFFS (Check box if you are representing yourself 0) DEFENDANTS

MARK ALVAREZ

ACCOUNT MANAGEMENT SERVICES

 

(b) Attorneys (Firm Name, Address and Telephone Number. If you are representing

yourself, provide same.)

Todd M. Friedman, Esq, Law Offices of Todd M. Friedman, P.C.
369 S, Doheny Dr., #415, Beverly Hills, CA 90211

 

Attorneys (If Known)

 

II. BASIS OF JURISDICTION (Place an X in one box only.)

01 U.S. Government Plaintiff

02 U.S. Government Defendant

#3 Federal Question (U.S.
Government Not a Party)

14 Diversity (Indicate Citizenship

of Parties in Item ITI)

 

Ill. CITIZENSHIP OF PRINCIPAL PARTIES - For Diversity Cases Only
(Place an X in one box for plaintiff and one for defendant.)

Citizen of This State

Citizen of Another S

Citizen or Subject of a Foreign County O13 03

PTF DEF PTF DEF
O1 1 Incorporated or Principal Place O4 O14
of Business in this State
tate O12 2 Incorporated and Principal Plaee O5 O15
of Business in Another State
Foreign Nation O06 O6

 

IV. ORIGIN (Place an X in one box only.)

1 Original
Proceeding

Appellate Court

112 Removed from O13 Remanded from (14 Reinstated or
State Court

Reopened

OS Transferred from another district (specify):

O6 Multi-
District
Litigation

O17 Appeal to District

Judge from
Magistrate Judge

 

¥. REQUESTED IN COMPLAINT: JURY DEMAND: W Yes (No (Check ‘Yes’ only if demanded in complaint.)
CLASS ACTION under F.R.C.P. 23: 0 Yes wu No

O MONEY DEMANDED IN COMPLAINT: $

 

 

VI. CAUSE OF ACTION (Cite the U.S. Civil Statute under which you are filing and write a brief statement of cause. Do not cite jurisdictional statutes unless diversity.)
15.USC 1692 Violation of the Fair Debt Collection Practices Act

VII. NATURE OF SUIT (Place an X in one box only.)

 

 

 

 

 

 
    

 

 

  

 
 

 

   
 

  

 

 

 

  

 

 
 
  

 

 

 
   
      

  

 

 

  

  
 

        

 

 

  

 

 

 

 

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and Corrupt Judgment at iabili Other (1740 Railway Labor Act
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FOR OFFICE USE ONLY: — Case Number: .

 

AFTER COMPLETING THE FRONT SIDE OF FORM CV-71, COMPLETE THE INFORMATION REQUESTED BELOW.

 

CV-71 (05/08)

CIVIL COVER SHEET

Page | of 2
 

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Case 5:10-cv-01477-VAP-DTB ‘Dédcument 1 Filed 09/28/10 Page 11 of 11 Page JD#:11

UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
CIVIL COVER SHEET

VIII(a). IDENTICAL CASES: Has this action been previously filed in this court and dismissed, remanded or closed? No O Yes
If yes, list case number(s):

 

VIII(b). RELATED CASES: Have any cases been previously filed in this court that are related to the present case? MNo Yes

 

If yes, list case number(s):

Civil cases are deemed related if a previously filed case and the present case:
(Check all boxes that apply) A. Arise from the same or closely related transactions, happenings, or events; or
OB. Call for determination of the same or substantially related or similar questions of law and fact; or
CC. For other reasons would entail substantial duplication of labor if heard by different judges; or
OD. Involve the same patent, trademark or copyright, and one of the factors identified above in a, b or c also is present.

 

IX. VENUE: (When completing the following information, use an additional sheet if necessary.)

(a) List the County in this District; California County outside of this District; State if other than California; or Foreign Country, in which EACH named plaintiff resides.
C)__Check here if the government, its agencies or employees is a named plaintiff. If this box is checked, go to item (b).

 

County in this District:* California County outside of this District; State, if other than California; or Foreign Country

 

San Bernardino

 

(b) List the County in this District; California County outside of this District; State if other than California; or Foreign Country, in which EACH named defendant resides.
Ll___Check here if the government, its agencies or employees is a named defendant, If this box is checked, go to item (c).

 

County in this District:* California County outside of this District; State, if other than California; or Foreign Country

 

Orange

 

(c) List the County in this District, California County outside of this District; State if other than California; or Foreign Country, in which EACH claim arose.
Note: In land condemnation cases, use the location of the tract of land involved.

 

County in this District:* California County outside of this District; State, if other than California; or Foreign Country

 

San Bernardino

 

 

 

 

* Los Angeles, Orange, San Bernardino, Riverside, Ventura, Santa B: yt he Luis obispo Govtities:
Note: In land condemnation cases, use the location of the tract of land jn¥o Cived

X, SIGNATURE OF ATTORNEY (OR PRO PER): Zr Date September 24, 2010

Notice to Counsel/Parties: The CV-71 (JS-44) Civil Cover Sheet and the information contained herein neither replace nor supplement the filing and service of pleadings
or other papers as required by law. This form, approved by the Judicial Conference of the United States in September 1974, is required pursuant to Local Rule 3-1 is not filed
but is used by the Clerk of the Court for the purpose of statistics, venue and initiating the civil docket sheet. (For more detailed instructions, see separate instructions sheet.)

 

Key to Statistical codes relating to Social Security Cases:

Nature of Suit Code Abbreviation Substantive Statement of Cause of Action

861 HIA All claims for health insurance benefits (Medicare) under Title 18, Part A, of the Social Security Act, as amended.
Also, include claims by hospitals, skilled nursing facilities, etc., for certification as providers of services under the
program. (42 U.S.C. 1935FF(b))

862 BL All claims for “Black Lung” benefits under Title 4, Part B, of the Federal Coal Mine Health and Safety Act of 1969.
(30 U.S.C. 923)

863 DIWC All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as
amended; plus all claims filed for child’s insurance benefits based on disability. (42 U.S.C. 405(g))

863 DIWW All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security
Act, as amended. (42 U.S.C. 405(g))

864 SSID All claims for supplemental security income payments based upon disability filed under Title 16 of the Social Security
Act, as amended.

865 RSI All claims for retirement (old age) and survivors benefits under Title 2 of the Social Security Act, as amended. (42
U.S.C. (g))

 

CV-71 (05/08) CIVIL COVER SHEET Page 2 of 2
